               IN THE COURT OF APPEALS OF NORTH CAROLINA

                                    No. COA20-80

                              Filed: 15 September 2020

Mecklenburg County, Nos. 18CRS010447, 212079, 212081

STATE OF NORTH CAROLINA

             v.

BRIAN ROBERT GLEASON


      Appeal by Defendant from judgments entered 29 July 2019 by Judge Donnie

Hoover in Mecklenburg County Superior Court. Heard in the Court of Appeals 11

August 2020.


      Joshua H. Stein, by Assistant Attorney General Brenda Eaddy, for State-
      Appellee.

      North Carolina Prisoner Legal Services, Inc., by Christopher J. Heaney, for
      Defendant-Appellant.


      COLLINS, Judge.


      Defendant Brian Robert Gleason appeals from judgments entered upon jury

verdicts of guilty of perjury and violating a civil domestic violence protection order.

Defendant contends the trial court erred by sentencing him in the aggravated range

for his felony perjury conviction. We reverse judgment entered upon his conviction

for perjury and remand for resentencing.
                                  STATE V. GLEASON

                                  Opinion of the Court



                                  I. Background

      On 30 April 2018, Defendant was indicted for stalking, making a false report

to a law enforcement officer or agency, and violating a civil domestic violence

protective order (“DVPO”). On 22 September 2018, the State filed a Notice of Intent

to Prove Aggravating Factors or Prior Record Level Point. The notice indicated that

the State intended to present evidence of the following two aggravating factors: (1)

“[t]he offense was committed to disrupt or hinder the lawful exercise of any

governmental function or the enforcement of laws[,]” which corresponds to N.C. Gen.

Stat. § 1340.16(d)(5) (2019); and (2) “[t]he Defendant took advantage of a position of

trust or confidence, including a domestic relationship, to commit the offense[,]” which

corresponds to N.C. Gen. Stat. § 1340.16(d)(15) (2019). The notice also indicated that

the State intended “to prove the existence of an additional prior record level point

under N.C.G.S. § 15A-1340 (b)(7), specifically, that the offense was committed while

the Defendant . . . [w]as on supervised or unsupervised probation, parole, or post-

release supervision[.]”

      The State obtained superseding indictments on 22 October 2018 for stalking,

making a false report to a law enforcement officer or agency, and two counts of

perjury.   The State obtained a superseding indictment on 22 October 2018 for

violating a DVPO. The State obtained a superseding indictment on 8 July 2019 for

obstruction of justice and two counts of perjury. At the 22 July 2019 trial, the State



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                                   STATE V. GLEASON

                                   Opinion of the Court



moved to join the charges for stalking, perjury, and violating a DVPO, and dismissed

the first and third counts of obstruction of justice and perjury. The jury found

Defendant guilty of perjury and violating a DVPO. The jury could not reach a verdict

on stalking; the trial court declared a mistrial.

      During sentencing proceedings, the State informed the trial court that “[t]he

State has previously filed notice of an aggravating factor” and stated that “the

aggravating factor would be that the Defendant was on supervised probation during

the commission of this offense.” The State then said to the trial court, “if [defense

counsel] still plans to admit to the aggravating factor, that would be, of course, a

necessary step. Otherwise, we’ll prove to the Court beyond a reasonable doubt that

the Defendant was on probation at the time of the offense.” Defense counsel then

stated, “Yeah. We do admit to that, Your Honor. . . . [W]e do admit that he was on

probation.”

      On form AOC-CR-605, felony judgment findings of aggravating and mitigating

factors, the trial court marked the check box next to aggravating factor 20,

“Additional written findings of factors in aggravation:    DEFENDANT WAS ON

PROBATION AT THE TIME OF THE OFFENSE.”

      The trial court “ma[de] no findings of any mitigating factors” and found that

“the factors in aggravation outweigh the factors in mitigation and that an aggravated

sentence is justified.” The trial court determined Defendant to be a Prior Record



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                                   STATE V. GLEASON

                                   Opinion of the Court



Level II for felony sentencing purposes, with 2 prior record level points, and sentenced

Defendant to an aggravated sentence of 21 to 35 months’ imprisonment for perjury.

The trial court also determined Defendant to be a Prior Record Level II for

misdemeanor sentencing purposes, with 2 prior record level points, and sentenced

Defendant to a consecutive term of 75 days’ imprisonment for violating a DVPO.

Defendant gave oral notice of appeal.

                                    II. Discussion

      Defendant argues that he received ineffective assistance of counsel because his

counsel failed to object to a lack of notice of the aggravating factor argued by the State

at sentencing and, as a result of this failure, his sentence was increased.

      On appeal, this Court reviews de novo whether a defendant was denied

effective assistance of counsel. State v. Wilson, 236 N.C. App. 472, 475, 762 S.E.2d

894, 896 (2014).

      In general, “claims of ineffective assistance of counsel should be considered

through motions for appropriate relief and not on direct appeal.” State v. Stroud, 147

N.C. App. 549, 553, 557 S.E.2d 544, 547 (2001). However, an ineffective assistance

of counsel claim brought on direct review “will be decided on the merits when the cold

record reveals that no further investigation is required.” State v. Fair, 354 N.C. 131,

166, 557 S.E.2d 500, 524 (2001).       Here, the cold record reveals that no further

investigation is required; therefore, we will decide the merits of the claim.



                                          -4-
                                   STATE V. GLEASON

                                   Opinion of the Court



      “When a defendant attacks his conviction on the basis that counsel was

ineffective, he must show that his counsel’s conduct fell below an objective standard

of reasonableness.” State v. Braswell, 312 N.C. 553, 561–62, 324 S.E.2d 241, 248

(1985). To meet this burden, the defendant must satisfy the following two-pronged

test: First, the defendant must show that “counsel’s performance was deficient. This

requires showing that counsel made errors so serious that counsel was not

functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.”

Strickland v. Washington, 466 U.S. 668, 687 (1984). Second, the defendant “must

show that the deficient performance . . . [was] so serious as to deprive the defendant

of a fair trial, a trial whose result is reliable.” Id. Thus, the “fact that counsel made

an error, even an unreasonable error, does not warrant reversal of a conviction unless

there is a reasonable probability that, but for counsel’s errors, there would have been

a different result in the proceedings.” Braswell, 312 N.C. at 563, 324 S.E.2d at 248.

      As to the first prong, Defendant argues that his counsel’s performance was

deficient because counsel failed to object to the lack of notice of the aggravating factor

argued by the State at sentencing. We agree.

      Subsection (d) of N.C. Gen. Stat. § 15A-1340.16 enumerates 28 specific

aggravating factors that, if proven beyond a reasonable doubt, can be considered by

a trial court in determining whether to impose an aggravated sentence. N.C. Gen.

Stat. § 15A-1340.16(a), (d) (2019). Additionally, N.C. Gen. Stat. § 15A-1340.16(d)(20)



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                                   STATE V. GLEASON

                                   Opinion of the Court



includes a catchall provision for “[a]ny other aggravating factor reasonably related to

the purposes of sentencing.” N.C. Gen. Stat. § 15A-1340.16(d)(20).

      Aggravating factors specifically enumerated in subsection (d) of N.C. Gen. Stat.

§ 15A-1340.16 “need not be included in an indictment or other charging instrument.”

N.C. Gen. Stat. § 15A-1340.16(a4) (2019). Under N.C. Gen. Stat. § 15A-1340.16(a6),

             [t]he State must provide a defendant with written notice of
             its intent to prove the existence of one or more aggravating
             factors under subsection (d) of this section or a prior record
             level point under [N.C. Gen. Stat. §] 15A-1340.14(b)(7) at
             least 30 days before trial or the entry of a guilty or no
             contest plea. A defendant may waive the right to receive
             such notice. The notice shall list all the aggravating factors
             the State seeks to establish.

Id. at § 15A-1340.16(a6) (2019).

      However, any aggravating factor alleged under the catchall provision in

subsection (d)(20) of N.C. Gen. Stat. § 15A-1340.16 “shall be included in an indictment

or other charging instrument, as specified in [N.C. Gen. Stat. §] 15A-924.” Id. at §

15A-1340.16(a4). Specifically under N.C. Gen. Stat. § 15A-924, “[a] criminal pleading

must contain . . . [a] statement that the State intends to use one or more aggravating

factors under G.S. 15A-1340.16(d)(20), with a plain and concise factual statement

indicating the factor or factors it intends to use under the authority of that

subdivision.” N.C. Gen. Stat. § 15A-924(a)(7) (2019).

      In State v. Ross, 216 N.C. App. 337, 720 S.E.2d 403 (2011), disc. review denied,

366 N.C. 400, 735 S.E.2d 174 (2012), this Court reversed defendant’s judgment and


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                                   STATE V. GLEASON

                                   Opinion of the Court



remanded it for resentencing where the State “simply served defendant with notice

of its intent to prove the existence of” non-statutory aggravating factors but did not

include them in an indictment. Id. at 350, 720 S.E.2d at 412.

      Similarly, in State v. Ortiz, 238 N.C. App. 508, 768 S.E.2d 322 (2014), this

Court explained and held as follows:

               The plain language of N.C. Gen. Stat. § 15A-1340.16(a4)
               requires the non-statutory aggravating factor to be
               included in the indictment and the State’s failure to do so
               rendered it unusable by the State in its prosecution.
               Considering the plain language of N.C. Gen. Stat. § 15A-
               1340.16(a4), this Court’s holding in Ross, and in the
               absence of authority to the contrary, we conclude that
               simply providing notice in compliance with N.C. Gen. Stat.
               § 15A-1340.16(a6) was insufficient to allow the State to
               proceed on the non-statutory aggravating factor and it was
               error for the trial court to so allow.

Id. at 514, 768 S.E.2d at 326.

      In this case, the State presented to the trial court at sentencing that “the

aggravating factor would be that the Defendant was on supervised probation during

the commission of this offense.” In its judgment, the trial court marked the check box

next to aggravating factor 20 – which corresponds to the catchall provision in N.C.

Gen. Stat. § 15A-1340.16(d)(20) – “Additional written findings of factors in

aggravation:     DEFENDANT WAS ON PROBATION AT THE TIME OF THE

OFFENSE.” Being on probation at the time of the offense is not one of the factors

specifically enumerated in subsection (d) of N.C. Gen. Stat. § 15A-1340.16. Thus, the



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                                  STATE V. GLEASON

                                   Opinion of the Court



plain language of N.C. Gen. Stat. § 15A-1340.16(a4) requires this alleged aggravating

factor to be included in an indictment or other charging instrument. N.C. Gen. Stat.

§ 15A-1340.16(a4).

      The State obtained a superseding indictment for the felony perjury offense for

which Defendant was found guilty. Nowhere in the indictment is it alleged that

Defendant was on probation at the time of the offense. Accordingly, as in Ross and

Ortiz, the State’s failure to so allege rendered that aggravating factor unusable by

the State in its prosecution. Ortiz, 238 N.C. App. at 514, 768 S.E.2d at 326.

      We note that the State notified Defendant in accordance with N.C. Gen. Stat.

§ 15A-1340.16(a6) that the State intended to prove the existence of the aggravating

factors specifically enumerated in N.C. Gen. Stat. § 1340.16(d)(5) and (d)(15).

However, the State did not proceed at sentencing on either of these factors. Moreover,

even had the State included the aggravating factor “Defendant was on supervised

probation during the commission of this offense” in this notice, “simply providing

notice in compliance with N.C. Gen. Stat. § 15A-1340.16(a6) [would have been]

insufficient to allow the State to proceed on the non-statutory aggravating factor and

it [would have been] error for the trial court to so allow.” Ortiz, 238 N.C. App. at 514,

768 S.E.2d at 326.

      Although the State notified Defendant that the State intended “to prove the

existence of an additional prior record point” based on the fact that Defendant “[wa]s



                                          -8-
                                        STATE V. GLEASON

                                         Opinion of the Court



on supervised or unsupervised probation, parole, or post-release supervision” at the

time he committed the offenses, the State did not seek to add a record level point at

sentencing. Moreover, the addition of one record-level point to Defendant’s prior

record level would not have changed his prior record level1 and, thus, could not have

resulted in an enhanced sentence. See N.C. Gen. Stat. § 15A-1340.14(b)(7) (2019).

Accordingly, Defense counsel erred by failing to object to the lack of notice of the

aggravating factor the State sought to prove at sentencing.

       As to prong two, Defendant contends that his counsel’s failure to object to the

lack of notice prejudiced him because he would not have received an aggravated

sentence had the objection been made. We agree.

       Had Defendant’s counsel objected to the lack of notice, the State could not have

proceeded on that aggravating factor and Defendant could not have received an

aggravated sentence. Ortiz, 238 N.C. App. at 514, 768 S.E.2d at 326; Ross, 216 N.C.

App. at 350, 720 S.E.2d at 412. Accordingly, we vacate the trial court’s judgment and

remand the matter for resentencing. Id.



       1   Defendant had one prior felony class H or I conviction, giving him 2 points, which puts him
at prior conviction level II. If he had received an additional point for committing an offense while on
probation, he would have 3 points, which still puts him at prior conviction level II.

                                                 -9-
                                STATE V. GLEASON

                                 Opinion of the Court



                                III. Conclusion

      For the reasons stated above, we conclude that Defendant received ineffective

assistance of counsel. We vacate Defendant’s sentence and remand to the trial court

for resentencing.

      VACATED AND REMANDED FOR RESENTENCING.

      Chief Judge McGEE concurs. Judge TYSON concurs in the result by separate

opinion.




                                        - 10 -
 No. COA20-80 – State v. Gleason


      TYSON, Judge, concurring in the result.


      I concur in the result reached by the majority’s opinion.        The “catch all”

aggravating factor the State proceeded upon at sentencing, and to which his counsel

stipulated, was not alleged in an indictment nor found by the jury. N.C. Gen. Stat. §

15A-1340.16(d20) (2019). The enhanced sentence entered beyond the presumptive

range constitutes prejudicial error to vacate Defendant’s sentence.          Defendant

argues, and has shown, he received ineffective assistance of counsel (“IAC”). I concur

with the majority’s analysis of the requisite factors to show IAC. I also vote to vacate

the sentence and remand for resentencing for the reasons below.

                           I. N.C. Gen. Stat. § 15A-1022.1

      The Due Process Clause of the Fifth Amendment and the notice and jury trial

protections of the Sixth Amendment guarantee “[a]ny fact (other than prior

conviction) that increases the maximum penalty for a crime must be charged in an

indictment, submitted to a jury, and proven beyond a reasonable doubt.” Apprendi v.

New Jersey, 530 U.S. 466, 476, 147 L. Ed. 2d 435, 446 (2000) (citations omitted).

      These protections are codified under N.C. Gen. Stat. § 15A-1340.16 (2019). The

State provided prior notice of intent to show Defendant was under probation

supervision when the underlying crime occurred to enhance his prior record level

points and introduced that fact as an aggravating factor post-conviction, but prior to

sentencing. During the guilt-innocence phase the jury did not find any aggravating

factors and was dismissed after a guilty verdict on the underlying offense. After the
                                    STATE V. GLEASON

                            TYSON, J., concurring in the result



State offered to prove the aggravating factor beyond a reasonable doubt, Defendant’s

counsel conceded to Defendant’s probationary status when the underlying crime was

committed.

      The trial court properly found this fact could serve as a “catch-all” aggravating

factor. N.C. Gen. Stat. § 15A-1340.16(d20) (”Any other aggravating factor reasonably

related to the purposes of sentencing”); see State v. Moore, 188 N.C. App. 416, 429,

656 S.E.2d 287, 295 (2008). Absent Defendant’s counsel’s concession or putting the

State to its proof, Defendant would not be subject to an enhanced sentence from this

aggravating factor at sentencing.

      The Supreme Court of the United States in Blakely v. Washington applied

Apprendi’s requirements to the sentencing phase following a guilty plea. 542 U.S.

296, 305, 159 L. Ed. 403, 414 (2004). Our statutes codify Blakely’s protections in N.C.

Gen. Stat. § 15A-1022.1 (a)-(e), which provide:

             (a) Before accepting a plea of guilty or no contest to a felony,
             the court shall determine whether the State intends to seek
             a sentence in the aggravated range. If the State does intend
             to seek an aggravated sentence, the court shall determine
             which factors the State seeks to establish. The court shall
             determine whether the State seeks a finding that a prior
             record level point should be found under G.S. 15A-
             1340.14(b)(7). The court shall also determine whether the
             State has provided the notice to the defendant required by
             G.S. 15A-1340.16(a6) or whether the defendant has waived
             his or her right to such notice.

             (b) In all cases in which a defendant admits to the existence
             of an aggravating factor or to a finding that a prior record


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                                  STATE V. GLEASON

                            TYSON, J., concurring in the result



             level point should be found under G.S. 15A-1340.14(b)(7),
             the court shall comply with the provisions of G.S. 15A-
             1022(a). In addition, the court shall address the defendant
             personally and advise the defendant that:
                (1) He or she is entitled to have a jury determine the
                existence of any aggravating factors or points under G.S.
                15A-1340.14(b)(7); and
                (2) He or she has the right to prove the existence of any
                mitigating factors at a sentencing hearing before the
                sentencing judge.

             (c) Before accepting an admission to the existence of an
             aggravating factor or a prior record level point under G.S.
             15A-1340.14(b)(7), the court shall determine that there is a
             factual basis for the admission, and that the admission is
             the result of an informed choice by the defendant. The court
             may base its determination on the factors specified in G.S.
             15A-1022(c), as well as any other appropriate information.

             (d) A defendant may admit to the existence of an
             aggravating factor or to the existence of a prior record level
             point under G.S. 15A-1340.14(b)(7) before or after the trial
             of the underlying felony.

             (e) The procedures specified in this Article for the handling
             of pleas of guilty are applicable to the handling of
             admissions to aggravating factors and prior record points
             under G.S. 15A-1340.14(b)(7), unless the context clearly
             indicates that they are inappropriate.

N.C. Gen. Stat. § 15A-1022.1 (a)-(e) (2019) (emphasis supplied).

      Our General Assembly provided additional protections above those established

in Blakely by extending its protections to the admission of aggravating factors or prior

record level points even in the absence of an underlying guilty plea. See id. The

transcript shows the trial court failed to address Defendant personally.



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                                   STATE V. GLEASON

                             TYSON, J., concurring in the result



      This Court has interpreted N.C. Gen. Stat. § 15A-1022.1 to “require[] a trial

court to inform a defendant of his or her right to have a jury determine the existence

of an aggravating factor, and the right to prove the existence of any mitigating factor.”

State v. Wilson-Angeles, 251 N.C. App. 886, 902, 795 S.E.2d 657, 669 (2017) (citation

omitted).

      Unlike the requirements of N.C. Gen. Stat. § 15A-1340.16(a4) cited by the

majority’s opinion, the trial court’s failure to inquire into a knowing and voluntarily

waiver of Defendant’s rights appear to have prejudiced Defendant.                  Under

subsections (c) and (d), we must reconcile the express language that: “A defendant

may admit to the existence of an aggravating factor . . . before or after the trial of the

underlying felony” with “Before accepting an admission to the existence of an

aggravating factor . . . , the court shall determine that there is a factual basis for the

admission, and that the admission is the result of an informed choice by the

defendant.” N.C. Gen. Stat. § 15A-1022.1 (c), (d) (emphasis supplied).

                               A. Canons of Construction

      “The principal goal of statutory construction is to accomplish the legislative

intent.” Lenox, Inc. v. Tolson, 353 N.C. 659, 664, 548 S.E.2d 513, 517 (2001) (citation

omitted). “The best indicia of that intent are the [plain meanings of the] language of

the statute . . ., the spirit of the act and what the act seeks to accomplish.” Coastal




                                             4
                                    STATE V. GLEASON

                              TYSON, J., concurring in the result



Ready-Mix Concrete Co. v. Bd. of Comm’rs, 299 N.C. 620, 629, 265 S.E.2d 379, 385

(1980) (citations omitted).

      “When construing legislative provisions, this Court looks first to the plain

meaning of the words of the statute itself.” State v. Ward, 364 N.C. 157, 160, 694

S.E.2d 729, 731 (2010). “Interpretations that would create a conflict between two or

more statutes are to be avoided, and statutes should be reconciled with each other

whenever possible.” Taylor v. Robinson, 131 N.C. App. 337, 338, 508 S.E.2d 289, 291

(1998) (citation, internal quotation marks, and ellipses omitted).

      “‘[S]tatutes in pari materia must be read in context with each other.’”

Publishing v. Hospital System, Inc., 55 N.C. App. 1, 7, 284 S.E.2d 542, 546 (1981)

(quoting Cedar Creek Enters. Inc. v. Dep’t of Motor Vehicles, 290 N.C. 450, 454, 226

S.E.2d 336, 338 (1976)). “‘In pari materia’ is defined as ‘[u]pon the same matter or

subject.’” Id. at 7-8, 284 S.E.2d at 546 (quoting Black’s Law Dictionary 898 (4th ed.

1968)).

      My review of relevant case and statutory authority fails to disclose any

authority interpreting N.C. Gen. Stat. § 15A-1022.1(d) as writing out a defendant’s

admission under N.C. Gen. Stat. § 15A-1022.1(c). Reconciling both subsections with

Blakely and Apprendi, a defendant can admit an aggravating factor or prior record

level both before and after the guilt-innocence phase after being provided the

applicable protections of N.C. Gen. Stat. § 15A-1022.1(a)-(c), Blakely, and Apprendi.



                                              5
                                  STATE V. GLEASON

                            TYSON, J., concurring in the result



These protections are: “that there is a factual basis for the admission, and that the

admission is the result of an informed choice by the defendant.” N.C. Gen. Stat. §

15A-1022.1(c). Generally, these protections must be addressed to and waived by the

defendant, not by defendant’s counsel.

                                B. Cases Distinguished

      The State presents several cases to support their argument of a lack of error

and prejudice.   In State v. Edmonds, this Court found a trial court’s failure to

personally address a defendant to be harmless error, because the defendant had

failed to put on mitigating evidence contesting the sole aggravating factor. 236 N.C.

App. 588, 600, 763 S.E.2d 552, 560 (2014). Here, Defendant’s counsel presented six

mitigating factors, all of which were rejected by the trial court prior to sentencing.

      This Court’s decision in State v. Marlow, 229 N.C. App. 593, 747 S.E.2d 741
(2013), is also not controlling to the outcome here. While this Court found the lack of

a personal colloquy with defendant was missing when the defendant’s counsel

stipulated to the prior record level, defendant was personally asked by the court about

his prior convictions. Id. at 602, 747 S.E.2d at 748.

      This Court held no error occurred. “Defense counsel had the opportunity to

inform defendant of the repercussions of conceding certain prior offenses and

defendant had the opportunity to interject had he not known such repercussions. Yet,




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                                  STATE V. GLEASON

                            TYSON, J., concurring in the result



even after being informed, defendant neither objected to nor hesitated when asked

about such convictions.” Id.

      The transcript shows Defendant was neither informed of these rights nor gave

a knowing and voluntary waiver.          The trial court did not personally address

Defendant on any matter regarding the aggravating factor nor was there any

collateral examination as in Marlow. Unlike Edmonds, Defendant did not concede

the mitigating evidence to the aggravating factor.

                                     II. Conclusion

      The indictment failed to allege, the State never proved, and the jury never

found the aggravating factor to exist, as is required by Apprendi, Blakely, and N.C.

Gen. Stat. § 15A-1340.16(a1). Even if counsel’s waiver of the State’s prior notice to

use the aggravating factor was invited error by the stipulation, counsel’s post-trial

concession and the trial court’s failure to address Defendant personally was error.

Upon remand, N.C. Gen. Stat. § 15A-1022.1(a)-(e) sets out the procedures for the

disposition for resentencing, not N.C. Gen. Stat. § 15A-1340.16(a4).

      This stipulation and error by counsel allowed the court to impose the maximum

aggravated sentence, constitutes prejudice and shows ineffective assistance of

counsel. The sentence is properly vacated. I concur in the result to remand to the

trial court for resentencing.




                                            7
